Case 2:08-cv-01021-PSG-RC Document 9-51 Filed 02/19/08 Page1lof4 Page ID #:374

EXHIBIT XX
Case 2:08-cv-01021-PSG-RC Document 9-51 Filed 02/19/08 Page 2of4 Page ID #:375

Geraldine A. Wyle (SBN 89735)
Jeryll S. Cohen (SBN 125392)
Jeffrey D. Wexler (SBN 132256)
Vivian Lee Thoreen (SBN 224162)

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601 South Figueroa, Suite 3900
Los Angeles, California 90017
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Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

LOS ANGELES
SUPERIOR COURT

SUPERIOR COURT OF THE STATE OF CALIF ORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person and the
Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

CASE NO. BP 108870
DECLARATION OF GARY STIFFELMAN
Date: February 14, 2008

Time: 1:30 p.m
Department: 9

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Case 2:08-cv-01021-PSG-RC Document 9-51 Filed 02/19/08 Page 3of4 Page ID #:376

Cc fF NDA WwW & WD LP =

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I, Gary Stiffelman, declare:

1. Lam an attorney licensed to practice law in the State of California. [ama partner at the
law firm of Ziffren, Brittenham, Branca, Fischer, Gilbert-Lurie, Stuffelman, Cook, Johnson, Lande
& Wolf LLP, and have been Britney Spear’s (“Ms. Spears”) entertainment counsel from time to
time. [Except as otherwise stated, the statements contained herein are based on my personal
knowledge and experience. If called as a witness, I could and would testify competently to those
facts.

2. I have received several telephone calls from Ms. Spears over the last several days. |
spoke with her on Wednesday, F ebruary 6, and have spoken with her at least twice during the last
few days, on Saturday, February 9 and again on Monday, February 11 when she placed calls to
me. The caller information on my telephone indicated that Ms. Spears called me from more than
one telephone number over that time period. Due to the attorney-client communications privilege,
lam not revealing the content of our conversations.

Executed on February 13, 2008, at Los Angeles, California.

I declare under penalty of perjury of the laws of the State of California that the foregoing is

true and correct. - Se geet
2 Blog es KZ

CARAT FELMAN

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Case 2:08-cv-01021-PSG-RC Document 9-51 Filed 02/19/08 Page 4of4 Page ID #:377

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PROOF OF PERSONAL — HAND DELIVERY

In the Matter of the Conservatorship of the Person and Estate of BRITNEY JEAN SPEARS
Case No. BP 108 870

Judge: Reva G. Goetz

Dept: 9

| am a member of the law firm of Luce, Forward, Hamilton & Scripps LLP, whose address
is 601 South Figueroa, Suite 3900, Los Angeles, California 90017-5832. I am over the age of
eighteen years, and am not a party to this action. I am employed in the County of Los Angeles,
State of California. My business address is 601 S. Figueroa, Suite 3900, Los Angeles, California
90017.

On February 14, 2008, I personally served true copies of the following document:
DECLARATION OF GARY STIFFELMAN
on the interested parties in this action as follows:

Samuel D. Ingham, Esq. (served at the Courthouse)
9440 Santa Monica Blvd., Ste. 510
Beverly Hills, CA 90210

Andrew M. Wallet, Esq. (served at the Courthouse)
Hinojosa & Wallet

2215 Colby Ave.

Los Angeles, CA

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed on February 14, 2008, at Los geles, California.

\ V Geraldine A. Wyle

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